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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )           4:11CR3087-3
                                              )
                      Plaintiff,              )
                                              )
       vs.                                    )
                                              )           ORDER
CEDRIC WILLIAMS,                              )
                                              )
                      Defendant.              )


       IT IS ORDERED that:


       (1)     The Clerk of Court shall file the Federal Bureau of Prison’s letter to me dated
September 6, 2012.


       (2)     The Clerk of Court shall provide a copy of this order and the letter to counsel
for the government, to counsel for the defendant and to the Federal Public Defender.


       (3)     Counsel for the defendant is reappointed to represent the defendant concerning
this matter.


       (4)     The Federal Public Defender shall provide defense counsel with a CJA
voucher.


       Dated September 11, 2012.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           Senior United States District Judge
